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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                 NO. 4:08CR00377-04 JLH

JARED SCOTT SENTELL                                                              DEFENDANT


                                            ORDER

       The government has filed a motion to dismiss the indictment against defendant Jared Scott

Sentell. Without objection, the motion is GRANTED. Document #116. The indictment against

defendant Jared Scott Sentell is hereby dismissed without prejudice.

       IT IS SO ORDERED this 30th day of June, 2010.




                                                    ___________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
